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IN THE UNITED sTATEs DISTRICT coURT 054 \QC
FOR THE wEsTERN DISTRICT oF TENNESSEE UG’/b-
EAsTERN DIvIsIoN 461 3

 

UNITED STATES OF AMERICA

vs Criminal No. l:O4-lOOBO~Ol-T

BILLY WAYNE MOORE

ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT
Upon motion of counsel for the defendant the trial date of
September l, 2005, is continued to allow counsel for the defendant
additional time in which to prepare. The ends of justice served by
taking such action outweigh the best interest of the public and the
defendant in a speedy trial.

The Clerk Shall re-set the REPORT DATE/MOTION HEARING for
Frida§[l September 23, 2005 at 9:30 A.M. and re-set TRIAL DATE for
Thursday, October 6, 2005 at 9:30 A.M. The Court finds that the
grounds for this continuance justified excluding the period of
September l, 2005 to October 6, 2005, as excludable delay under

Title 18 U.S.C.§3161(h)(8)(3)(A)and (B)(iv).

IT IS SO ORDERED. ; 3

JAM D. TODD
UNI D STATES DISTRICT JUDGE

DATE= /§ WQ'J?’$'

 

Thls document entered on the docket in compliance
with nule 55 and/oraz(b) FRC:P on _ml/Oj_

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thice of Distribution

This notice confirms a copy of the document docketed as number 55 in
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August 17, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

